Case 4:17-cv-00237-RLY-DML Document 24 Filed 05/01/18 Page 1 of 2 PageID #: 342



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            NEW ALBANY DIVISION

 ULTRA ATHLETE LLC,                            )
                                               )
                            Plaintiff,         )
                                               )
                       v.                      )     No. 4:17-cv-00237-RLY-DML
                                               )
 JALMAR ARAUJO, et al.                         )
                                               )
                            Defendants.        )

              Entry and Order from Initial Pretrial Conference
       The parties, by counsel, appeared for an initial pretrial conference on April

 26, 2018, with the magistrate judge. The case management plans submitted in this

 case were not approved. The parties shall confer and, within 7 days, file a new

 proposed CMP that permits claim construction briefing earlier and separate from

 the briefing of any other summary judgment issues. However, the CMP must set

 dates certain, not conditioned on the date of the Markman ruling.

       The motion for leave to amend (Dkt. 19) is GRANTED. The plaintiff must file

 its amended complaint with its exhibits within five business days. The motion to

 dismiss (Dkt. 16) is DENIED AS MOOT.

       This case is set for a telephone status conference on July 23, 2018, at 10:30

 a.m. (Eastern Time), with Magistrate Judge Debra McVicker Lynch. The court

 will contact counsel by separate email through the court’s electronic filing system

 with the call-in information to be used to participate in the conference.

       So ORDERED.

       Dated: May 1, 2018                  ____________________________________
                                              Debra McVicker Lynch
                                              United States Magistrate Judge
                                              Southern District of Indiana
Case 4:17-cv-00237-RLY-DML Document 24 Filed 05/01/18 Page 2 of 2 PageID #: 343



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